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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

xX
CAROL ALLEN,
Plaintiff, Case No:
Vs.
HARTFORD LIFE AND ACCIDENT
INSURANCE COMPANY,
Defendant.
X

COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiff sues Defendant and says:

I. JURISDICTION AND VENUE

—

Plaintiff's claims are filed pursuant to 29 U.S.C. Section 1001, et. seq.
(ERISA). Venue and Jurisdiction are, therefore, proper pursuant to 29 U.S.C.
Section 1132.

IL. PARTIES

2. Plaintiff, Carol Allen, is a resident of Orlando, Florida in the County of
Orange.

3. Defendant Hartford Life and Accident Insurance Company (hereinafter
“Hartford”) is a foreign corporation and the plan administrator and insurer for
the plan at issue in this cause.

4, Defendant Hartford is a foreign corporation licensed to do business in the

State of Florida with offices, employees and agents located in Florida.
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Il. FACTS

5. At all times material to this action there was in full force and affect an
insurance plan for long-term income disability benefits constituting a binding
contract of insurance between the parties.

6. The Hartford Employee Group Benefits Income Protection Plan Long Term
Disability provided benefits to the Plaintiff as Dated.

7. The purpose of the plan was to compensate Carol Allen a percentage of her
monthly earnings pursuant to the terms of the policy and age at time of
disability, as stated in the plan under the Schedule of Benefits, Maximum
Duration of Benefits.

8. On or about December 11, 2021 Hartford Insurance denied future benefits
after an appeal on the premise that Mrs. Allen did not meet the “Any
Occupation” definition of disability the Policy which states:

“How does Hartford define Total Disability:
You are disabled when Hartford determines that:
You are prevented from performing one or more of the Essential Duties of:

1) Your occupation during the Elimination period;

2) Your occupation, for the 24 month(s) following the Elimination Period, and as a
result Your Currently Monthly Earnings are less than 80% of Your Indexed Pre-
Disability earnings; and

3) After that, Any Occupation.

Any Occupation means:

e An occupation for which Your are reasonably fitted by training,
education and experience and that has an earnings potential greater
than the lesser of:

1) The product of Your Indexed Pre-Disability Earnings and the

Benefit percentage; or
2) The Maximum Monthly Benefit.
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9. Carol Allen was employed with Orlando Health and was an eligible plan
participant of the long-term disability plan at all times material to this action.

10. Carol Allen suffers from multiple medical conditions making it impossible to
work at the employer during the time of disability. Such conditions prevent
the Plaintiff from performing the substantial and material duties of her regular
occupation or any occupation at this time.

11. | These conditions have been diagnosed by licensed physician, through
examination and diagnostic testing.

12. Carol Allen has been unable to perform the full material and substantial duties
of any occupation, on a full time basis at all times material to this claim and is
disabled under the terms of the plan.

13. Carol Allen has been awarded Social Security Disability Benefits which
Hartford has been taking as an offset and has asked for some of the funds
back, which would indicate that they agree that she is totally disabled from
any occupation.

14. —_ In accordance with the procedures established by the plan, Carol Allen
notified the Defendant that she was disabled under the terms of the plan and
her treating physicians have consistently communicated to the Defendant that
Carol Allen is not able to work to a point that precludes her from being
excluded under the long term disability plan.

15. At the time of the determination that Mrs. Allen was no longer disabled
Hartford was still taking offsets based on Social Security Disability payments

to Mrs. Allen.
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The disability determinations of the plaintiff have been by licensed physicians
who hold a greater position to make determination of medical conditions
compared to Hartford.

The evidence considered by the Defendant in terminating Carol Allen’s
benefits included medical documentation from her treating physicians and
their own medical review.

Plaintiff has complied with any conditions precedent in bring this claim
without violating the provisions of the contract.

Defendant has not conducted any peer review to support their determination to
deny benefits.

Carol Allen filed her claim as soon as possible and followed all reasonable
procedures established by the Defendant and has not violated any of the
provisions of the policy that would entitle her to long term disability benefits.
The denial of Carol Allen’s claim was a breach of the terms of the plan under
which the Plaintiff was covered and a breach of the Defendant in discharging

its fiduciary responsibilities to the Plaintiff.

Il. COUNT I-PLAN BENEFITS

Plaintiff is entitled to certain benefits of the plan consisting of long-term
disability benefits so long as she continues to be disabled pursuant to the plan.
Plaintiff is entitled to the benefits identified herein because:

a. The benefits are permitted under the plan;

b. Plaintiff has satisfied all conditions to be eligible to receive the benefits;
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c. Plaintiff has not waived or otherwise relinquished her entitlement to the
benefits.

24. The Defendant has refused to pay the benefits sought by Plaintiff, ignoring the
voluminous medical records and clear opinions and recommendations of her
treating physicians.

25. Defendant has violated its own plan as it relied upon physicians who did not

review all available medical documentation.

IV. RELIEF REQUESTED

26. Asaresult of the acts and/or omissions of the Defendant as alleged herein, the
Defendant owes the Plaintiff unpaid long-term disability benefits, plus interest
or the Plaintiff is entitled to appropriate equitable relief as a result of the acts
and/or omissions of the Defendant.

27. The Defendant is liable for the Plaintiff's attorney fees and the costs of the
litigation in an amount to be proven at trial or by other legal determinations.

28. Defendant is also liable to place Plaintiff in the position he would have been
under the Plan had he not been wrongfully denied.

VII. PRAYER FOR RELIEF
WHEREFORE, Plaintiff, Carol Allen, prays for a judgment against the Defendant
for the relief as plead herein and for such other and further relief as this Honorable

Court deems just and proper.

Respectfully Submitted,

Dated: November 11, 2022 /s/ Jon L. Lambe, Esq.
JON L. LAMBE, ESQ.

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Trial Attorney for the Plaintiff

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EXHIBIT A

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THE
HARTFORD

CERTIFICATE OF INSURANCE

HARTFORD LIFE AND ACCIDENT INSURANCE COMPANY
Simsbury, Connecticut
(A stock insurance company)

Policyholder: ORLANDO HEALTH

Policy Number: GLT-678144

Policy Effective Date: August 1, 2012
Policy Anniversary Date: January 1, 2019

We have issued The Policy to the Policyholder. Our name, the Policyholder’s name and The Policy Number are shown
above. The provisions of The Policy, which are important to You, are summarized in this certificate consisting of this form
and any additional forms which have been made a part of this certificate. This certificate replaces any other certificate We
may have given to You earlier under The Policy. The Policy alone is the only contract under which payment will be made.
Any difference between The Policy and this certificate will be settled according to the provisions of The Policy on file with
Us at Our home office. The Policy may be inspected at the office of the Policyholder.

Signed for the Company
——_— «
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Terence Shields, Secretary Michael Concannon, Executive Vice President

A note on capitalization in this certificate:
Capitalization of a term, not normally capitalized according to the rules of standard punctuation, indicates a word or
phrase that is a defined term in The Policy or refers to a specific provision contained herein.

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SCHEDULE OF INSURANCE

The Policy of long term Disability insurance provides You with long term income protection if You become Disabled from a
covered injury, Sickness or pregnancy.

AMENDMENT TO GROUP POLICY GLT-678144 PROCESSED ON AUGUST 9, 2018. ANY CHANGES BETWEEN
THIS POLICY AND THE PREVIOUSLY ISSUED POLICY ARE EFFECTIVE MAY 1, 2018.

Cost of Coverage:
You do not contribute toward the cost of coverage.

Eligible Class(es) for Coverage:

All Full-time and Variable Full-time Active Employees, Resident Physicians and Physicians who are citizens or legal

residents of the United States, its territories and protectorates, excluding temporary, leased or seasonal employees.
Full-time Employment: at least 40 hours per week

Variable Full-time Employment: at least 32 - 39 hours per week

With respect to Resident Physicians and Physicians:
Eligibility Waiting Period for Coverage:
None

With respect to All Other Employees:
Eligibility Waiting Period for Coverage:
1) The first day of the month coinciding with or next following 60 day(s) of employment — if You are working for the
Employer on the Policy Effective Date; or
2) 30 day(s) — if You are hired on or after January 1, 2018.

The time period(s) referenced above are continuous. The Eligibility Waiting Period for Coverage will be reduced by the
period of time You were a Full-time Active Employee with the Employer under the Prior Policy.

Elimination Period: 180 day(s)
Maximum Monthly Benefit: $10,000
Minimum Monthly Benefit: the greater of:
1) $100; or
2) 10% of the benefit based on Monthly Income Loss before the deduction of Other Income Benefits.

Benefit Percentage: 60%

Maximum Duration of Benefits

Maximum Duration of Benefits Table

Age When Disabled Benefits Payable
Less than Age 62 To Social Security Normal
Retirement Age

Age 62 60 months

Age 63 48 months

Age 64 42 months

Age 65 36 months

Age 66 30 months

Age 67 24 months

Age 68 18 months

Age 69 or older 12 months

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Additional Benefit

Family Care Credit Benefit
see Benefit

Survivor Income Benefit
see Benefit

Workplace Modification Benefit
see Benefit

ELIGIBILITY AND ENROLLMENT

Eligible Persons: Who is eligible for coverage?
All persons in the class or classes shown in the Schedule of Insurance will be considered Eligible Persons.

Eligibility for Coverage: When will | become eligible?
You will become eligible for coverage on the later of:
1) the Policy Effective Date; or
2) the date You complete the Eligibility Waiting Period for Coverage shown in the Schedule of Insurance, if
applicable.

Enrollment: How do / enroll for coverage?
All eligible Active Employees will be enrolled automatically by the Employer.

PERIOD OF COVERAGE

Effective Date: When does my coverage start?
Your coverage will start on the date You become eligible.

Deferred Effective Date: When will my effective date for coverage or a change in my coverage be deferred?
If You are absent from work due to:
1) accidental bodily injury;
2) sickness;
3) Mental Iliness;
4) Substance Abuse; or
5) pregnancy;
on the date Your insurance, or increase in coverage, would otherwise have become effective, Your insurance, or increase
in coverage will not become effective until You are Actively at Work one full day.

Continuity From A Prior Policy: /s there continuity of coverage from a Prior Policy?
If You were:
1) insured under the Prior Policy; and
2) not eligible to receive benefits under the Prior Policy;
on the day before the Policy Effective Date, the Deferred Effective Date provision will not apply.

Is my coverage under The Policy subject to the Pre-existing Condition Limitation?
If You become insured under The Policy on the Policy Effective Date and were covered under the Prior Policy on the day
before the Policy Effective Date, the Pre-existing Conditions Limitation will end on the earliest of:
1) the Policy Effective Date, if Your coverage for the Disability was not limited by a pre-existing condition restriction
under the Prior Policy; or
2) the date the restriction would have ceased to apply had the Prior Policy remained in force, if Your coverage was
limited by a pre-existing condition limitation under the Prior Policy.

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The amount of the Monthly Benefit payable for a Pre-existing Condition in accordance with the above paragraph will be
the lesser of:

1) the Monthly Benefit which was paid by the Prior Policy; or

2) the Monthly Benefit provided by The Policy.

The Pre-existing Conditions Limitation will apply after the Policy Effective Date to the amount of a benefit increase which
results from a change from the Prior Policy to The Policy, a change in benefit options, a change of class or a change in
The Policy.

Do | have to satisfy an Elimination Period under The Policy if | was Disabled under the Prior Policy?
If You received Monthly benefits for disability under the Prior Policy, and You returned to work as a Full-time Active
Employee before The Policy Effective Date, then, if within 6 months of Your return to work:

1) You have a recurrence of the same disability while covered under The Policy; and

2) there are no benefits available for the recurrence under the Prior Policy;
the Elimination Period, which would otherwise apply, will be waived if the recurrence would have been covered without
any further elimination period under the Prior Policy.

Termination: When will my coverage end?
Your coverage will end on the earliest of the following:
1) the date The Policy terminates;
2) the date The Policy no longer insures Your class;
3) the date the premium payment is due but not paid;
unless continued in accordance with any of the Continuation Provisions.

Continuation Provisions: Can my coverage be continued beyand the date it would otherwise terminate?
Coverage can be continued by Your Employer beyond a date shown in the Termination provision, if Your Employer
provides a plan of continuation which applies to all employees the same way. Continued coverage:
1) is subject to any reductions in The Policy;
2) is subject to payment of premium by the Employer; and
3) terminates if:
a) The Policy terminates; or
b) coverage for Your class terminates.

In any event, Your benefit level, or the amount of earings upon which Your benefits may be based, will be that in effect
on the day before Your coverage was continued. Coverage may be continued in accordance with the above restrictions
and as described below:

Leave of Absence: If You are on a documented leave of absence, other than Family or Medical Leave or Military Leave of
Absence, and if premium is paid, Your coverage may be continued for up to 6 months from the date Your Leave of
Absence begins. If the leave terminates prior to the agreed upon date, this continuation will cease immediately.

Military Leave of Absence: If You enter active military service and are granted a military leave of absence in writing, Your
coverage my be continued for up to 6 month(s). If the leave ends prior to the agreed upon date, this continuation will
cease immediately.

Family Medical Leave: If You are granted a leave of absence, in writing, according to the Family and Medical Leave Act of
1993, or other applicable state or local law, Your coverage may be continued for up to 12 weeks, or 26 weeks if You
qualify for Family Military Leave, or longer if required by other applicable law, following the date Your leave commenced.
If the leave terminates prior to the agreed upon date, this continuation will cease immediately.

Coverage while Disabled: Does my insurance continue while | am Disabled and no longer an Active Employee?
If You are Disabled and You cease to be an Active Employee, Your insurance will be continued:

1) during the Elimination Period while You remain Disabled by the same Disability; and

2) after the Elimination Period for as long as You are entitled to benefits under The Policy.

Waiver of Premium: Am / required to pay Premiums while | am Disabled?
No premium will be due for You:

1) after the Elimination Period; and

2) for as long as benefits are payable.

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Extension of Benefits for Total Disability: Do my benefits continue if The Policy terminates?
If You are entitled to benefits while Disabled and The Policy terminates, benefits:

1) will continue as iong as You remain Disabled by the same Disability; but

2) will not be provided beyond the date We would have ceased to pay benefits had the insurance remained in force.
Termination of The Policy for any reason will have no effect on Our liability under this provision.

BENEFITS

Disability Benefit: What are my Disability Benefits under The Policy?
We will pay You a Monthly Benefit if You:
1) become Disabled while insured under The Policy;
2) are Disabled throughout the Elimination Period;
3) remain Disabled beyond the Elimination Period; and
4) submit Proof of Loss to Us.
Benefits accrue as of the first day after the Elimination Period and are paid monthly. However, benefits will not exceed
the Maximum Duration of Benefits.

Mental Illness And Substance Abuse Benefits: Are benefits limited for Mental Iliness or Substance Abuse?
If You are Disabled because of:

1) Mental Illness that results from any cause;

2) any condition that may result from Mental Illness;

3) alcoholism which is under treatment; or

4) the non-medical use of narcotics, sedatives, stimulants, hallucinogens, or any other such substance;
then, subject to all other provisions of The Policy, We will limit the Maximum Duration of Benefits.

Benefits will be payable:
1) for as long as you are confined in a hospital or other place licensed to provide medical care for the disabling
condition; or
2) if not confined, or after you are discharged and still Disabled, for a total of 24 month(s) for all such disabilities
during your lifetime.

Recurrent Disability: What happens if | Recover but become Disabled again?
Periods of Recovery during the Elimination Period will not interrupt the Elimination Period, if the number of days You
return to work as an Active Employee are less than one-half (1/2) the number of days of Your Elimination Period.

Any day within such period of Recovery, will not count toward the Elimination Period.

After the Elimination Period, if You return to work as an Active Employee and then become Disabled and such Disability
is:

1) due to the same cause; or

2) due to a related cause; and

3) within 6 month(s) of the return to work:
the Period of Disability prior to Your return to work and the recurrent Disability will be considered one Period of Disability,
provided The Policy remains in force.

If You return to work as an Active Employee for 6 month(s) or more, any recurrence of a Disability will be treated as a new
Disability. The new Disability is subject to a new Elimination Period and a new Maximum Duration of Benefits.

Period of Disability means a continuous length of time during which You are Disabled under The Policy.

Recover or Recovery means that You are no longer Disabled and have returned to work with the Employer and
premiums are being paid for You.

Calculation of Monthly Benefit: Return to Work Incentive: How are my Disability benefits calculated?
If You remain Disabled after the Elimination Period, but work while You are Disabled, We will determine Your Monthly
Benefit for a period of up to 12 consecutive months as follows:

1) multiply Your Pre-disability Earnings by the Benefit Percentage:

2) compare the result with the Maximum Benefit; and

3) from the lesser amount, deduct Other Income Benefits.

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The result is Your Monthly Benefit. Current Monthly Earnings will not be used to reduce Your Monthly Benefit. However, if
the sum of Your Monthly Benefit and Your Current Monthly Eamings exceeds 100% of Your Pre-disability Earnings, We
will reduce Your Monthly Benefit by the amount of excess.

The 12 consecutive month pericd will start on the last to occur of:
1) the day You first start work; or
2) the end of the Elimination Period.

!f You are Disabled and not receiving benefits under the Return to Work Incentive, We will calculate Your Monthly Benefit
as follows:

1) multiply Your Monthly Income Loss by the Benefit Percentage;

2) compare the result with the Maximum Benefit; and

3) from the lesser amount, deduct Other Income Benefits.
The result is Your Monthly Benefit.

Calculation of Monthly Benefit: What happens if the sum of my Monthly Benefit, Current Monthly Eamings and Other
Income Benefits exceeds 100% of my Pre-disability Eamings?

If the sum of Your Monthly Benefit, Current Monthly Earnings and Other Income Benefits exceeds 100% of Your Pre-
disability Earnings, We will reduce Your Monthly Benefit by the amount of the excess. However, Your Monthly Benefit will
not be less than the Minimum Monthly Benefit.

If an overpayment occurs, We may recover all or any portion of the overpayment, in accordance with the Overpayment
Recovery provision.

Minimum Monthly Benefit: /s there a Minimum Monthly Benefit?
Your Monthly Benefit will not be less than the Minimum Monthly Benefit shown in the Schedule of Insurance.

Partial Month Payment: How is the benefit calculated for a period of less than a month?
If a Monthiy Benefit is payable for a period of less than a month, we will pay 1/30 of the Monthly Benefit for each day You
were Disabled.

Termination of Payment: When will my benefit payments end?
Benefit payments will stop on the earliest of:
1) the date You are no longer Disabled;
2) the date You fail to furnish Proof of Loss;
3) the date You are no longer under the Regular Care of a Physician;
4) the date You refuse Our request that You submit to an examination by a Physician or other qualified medical
professional:
5) the date of Your death;
6) the date You refuse to receive recommended treatment that is generally acknowledged by Physicians to cure,
correct or limit the disabling condition;
7) the last day benefits are payable according to the Maximum Duration of Benefits Table;
8) the date Your Current Monthly Earnings exceed:

a) 80% of Your Indexed Pre-disability Earnings if You are receiving benefits for being Disabled from Your
Occupation; or

b) the product of Your Indexed Pre-disability Earnings and the Benefit percentage if You are receiving benefits
for being Disabled from Any Occupation;

9) the date no further benefits are payable under any provision in The Policy that limits benefit duration; or
10) the date You refuse to participate in a Rehabilitation program, or refuse to cooperate with or try:

a) modifications made to the work site or job process to accommodate Your identified medical limitations to
enable You to perform the Essential Duties of Your Occupation;

b) adaptive equipment or devices designed to accommodate Your identified medical limitations to enable You to
perform the Essential Duties of Your Occupation;

c) modifications made to the work site or job process to accommodate Your identified medical limitations to
enable You to perform the Essential Duties of Any Occupation, if You were receiving benefits for being
disabled from Any Occupation; or

d) adaptive equipment or devices designed to accommodate Your identified medical limitations to enable You to
perform the Essential Duties of Any Occupation, if You were receiving benefits for being disabled from Any
Occupation;

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provided a qualified Physician or other qualified medical professional agrees that such modifications,
Rehabilitation program or adaptive equipment accommodate Your medical limitation.

Family Care Credit Benefit: What if | must incur expenses for Family Care Services in order to participate in a
Rehabilitation program?
lf You are working as part of a program of Rehabilitation, We will, for the purpose of calculating Your benefit, deduct the
cost of Family Care from earnings received from work as a part of a program of Rehabilitation, subject to the following
limitations:
1) Family Care means the care or supervision of:
a) Your children under age 13; or
b) amember of Your household who is mentally or physically handicapped and dependent upon You for support
and maintenance;
2) the maximum monthly deduction allowed for each qualifying child or family member is:
a) $350 during the first 12 months of Rehabilitation; and
b) $175 thereafter;
but in no event may the deduction exceed the amount of Your monthly earnings;
3) Family Care Credits may not exceed a total of $2,500 during a calendar year;
4) the deduction will be reduced proportionally for periods of less than a month;
5) the charges for Family Care must be documented by a receipt from the caregiver;
6) the credit will cease on the first to occur of the following:
a) You are no longer in a Rehabilitation program; or
b) Family Care Credits for 24 months have been deducted during Your Disability; and
7) no Family Care provided by someone Related to the family member receiving the care will be eligible as a
deduction under this provision.

Your Current Monthly Earnings after the deduction of Your Family Care Credit will be used to determine Your Monthly
Income Loss. In no event will You be eligible to receive a Monthly Benefit under The Policy if Your Current Monthly
Eamings before the deduction of the Family Care Credit exceed 80% of Your Indexed Pre-disability Earnings.

Survivor Income Benefit: Will my survivors receive a benefit if | die while receiving Disability Benefits?
If You were receiving a Monthly Disability Benefit at the time of Your death, We will pay a Survivor Income Benefit, when
We receive proof satisfactory to Us:
1) of Your death; and
2) that the person claiming the benefit is entitled to it.
We must receive the satisfactory proof for Survivor Income Benefits within 1 year of the date of Your death.

The Survivor Income Benefit will only be paid:
1) to Your Surviving Spouse; or
2) if no Surviving Spouse, in equal shares to Your Surviving Children.
If there is no Surviving Spouse or Surviving Children, then no benefit will be paid.

However, We will first apply the Survivor Income Benefit to any overpayment which may exist on Your claim.

The Survivor Income Benefit is calculated as 3 times the lesser of:
1) Your Monthly Income Loss multiplied by the Benefit Percentage in effect on the date of Your death; or
2) The Maximum Monthly Benefit.

Surviving Spouse means Your wife or husband who was not legally separated or divorced from You when You died.
“Spouse” will include Your domestic partner, provided You have executed a domestic partner affidavit acceptable to us,
establishing that You and Your partner are domestic partners for purposes of The Policy. You will continue to be
considered domestic partners provided You continue to meet the requirements described in the domestic partner affidavit.

Surviving Children means Your unmarried children, step children, legally adopted children who, on the date You die, are
primarily dependent on You for support and maintenance and who are under age 25.

The term Surviving Children will also include any other children related to You by blood or marriage or domestic
partnership and who:
1) lived with You in a regular parent-child relationship; and
2) were eligible to be claimed as dependents on Your federal income tax return for the last tax year prior to Your
death.

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if a minor child is entitled to benefits, We may, at Our option, make benefit payments to the person caring for and
supporting the child until a legal guardian is appointed.

Workplace Modification Benefit: Will the Rehabilitation program provide for modifications to my workplace to
accommodate my return to work?
We will reimburse Your Employer for the expense of reasonable Workplace Modifications to accommodate Your Disability
and enable You to return to work as an Active Employee. You qualify for this benefit if:

1) Your Disability is covered by The Policy;

2) the Employer agrees to make modifications to the workplace in order to reasonably accommodate Your return to

work and the performance of the Essential Duties of Your job; and
3) We approve, in writing, any proposed Workplace Madifications.

Benefits paid for such workplace modification shall not exceed the amount equal to the amount of the Maximum Monthly
Benefit.

We have the right, at Our expense, to have You examined or evaluated by:
1) a Physician or other health care professional; or
2) avocational expert or rehabilitation specialist;
of Our choice so that We may evaluate the appropriateness of any proposed modification.

We will reimburse the Employer's costs for approved Workplace Modifications after:
1) the proposed modifications made on Your behalf are complete;
2) We have been provided written proof of the expenses incurred to provide such modification; and
3) You have returned to work as an Active Employee.

Workplace Modification means change in Your work environment, or in the way a job is performed, to allow You to
perform, while Disabled, the Essential Duties of Your job. Payment of this benefit will not reduce or deny any benefit You
are eligible to receive under the terms of The Policy.

EXCLUSIONS AND LIMITATIONS

Exclusions: What Disabilities are not covered?
The Policy does not cover, and We will not pay a benefit for any Disability:
1) unless You are under the Regular Care of a Physician;
2) that is caused or contributed to by war or act of war (declared or not);
3) caused by Your commission of or attempt to commit a felony;
4) caused or contributed to by Your being engaged in an illegal occupation; or
5) caused or contributed to by an intentionally self inflicted injury.

If You are receiving or are eligible for benefits for a Disability under a prior disability plan that:
1) was sponsored by Your Employer; and
2) was terminated before the Effective Date of The Policy;

no benefits will be payable for the Disability under The Policy.

Pre-Existing Conditions Limitation: Are benefits limited for Pre-existing Conditions?
We will not pay any benefit, or any increase in benefits, under The Policy for any Disability that results from, or is caused
or contributed to by, a Pre-existing Condition, unless, at the time You become Disabled:
1) You have not received Medical Care for the condition for 3 consecutive month(s) while insured under The Policy;
or
2) You have been continuously insured under The Policy for 12 consecutive month(s).

Pre-existing Condition means:
1) any accidental bodily injury, sickness, Mental Illness, pregnancy, or episode of Substance Abuse; or
2) any manifestations, symptoms, findings, or aggravations related to or resulting from such accidental bodily injury,
sickness, Mental Illness, pregnancy, or Substance Abuse;
for which You received Medical Care during the 3 month(s) period that ends the day before:
1) Your effective date of coverage; or
2) the effective date of a Change in Coverage.

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Medical Care is received when a physician or other health care provider:
1) is consulted or gives medical advice; or
2) recommends, prescribes or provides Treatment.

Treatment includes, but is not limited to:
1) medical examinations, tests, attendance, or observation; and
2) use of drugs, medicines, medical services, supplies or equipment.

GENERAL PROVISIONS

Notice of Claim: When should | notify the Company of a claim?

You must give Us, written notice of a claim within 20 days after Disability or loss occurs. If notice cannot be given within
that time, it must be given as soon as reasonably possible after that. Such notice must include Your name, Your address
and the Policy Number.

Claim Forms: Are special forms required to file a claim?
We will send forms to You to provide Proof of Loss, within 15 days of receiving a Notice of Claim. If We do not send the
forms within 15 days, You may submit any other written proof which fully describes the nature and extent of Your claim.

Proof of Loss: What is Proof of Loss?
Proof of Loss may include but is not limited to the following:
1) documentation of:
a) the date Your Disability began;
b) the cause of Your Disability;
c) the prognosis of Your Disability;
d) Your Pre-disability Earnings, Current Monthly Earnings or any income, including but not limited to copies of
Your filed and signed federal and state tax returns; and
e) evidence that You are under the Regular Care of a Physician;
2) any and all medical information, including x-ray films and photocopies of medical records, including histories,
physical, mental or diagnostic examinations and treatment notes;
3) the names and addresses of all:
a) Physicians or other qualified medical professionals You have consulted;
b) hospitals or other medical facilities in which You have been treated; and
c}) pharmacies which have filled Your prescriptions within the past three years;
4) Your signed authorization for Us to obtain and release:
a) medical, employment and financial information; and
b) any other information We may reasonably require;
5) Your signed statement identifying all Other Income Benefits; and
6) proof that You and Your dependents have applied for all Other Income Benefits which are available.
You will not be required to claim any retirement benefits which You may only get on a reduced basis. All proof submitted
must be satisfactory to Us.

Additional Proof of Loss: What additional proof of loss is the Company entitled to?
To assist Us in determining if You are Disabled, or to determine if You meet any other term or condition of The Policy, We
have the right to require You to:

1) meet and interview with our representative; and

2) be examined by a Physician, vocational expert, functional expert, or other medical or vocational professional of

Our choice.

Any such interview, meeting or examination will be:

1) at Our expense; and

2) as reasonably required by Us.
Your Additional Proof of Loss must be satisfactory to Us. Unless We determine You have a valid reason for refusal, We
may deny, suspend or terminate Your benefits if You refuse to be examined or meet to be interviewed by Our
representative.

Sending Proof of Loss: When must proof of Loss be given?

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Written Proof of Loss must be sent to Us within 90 days after the start of the period for which We are liable for payment. If
proof is not given by the time it is due, it will not affect the claim if:

1) it was not possible to give proof within the required time; and

2) proof is given as soon as possible; but

3) not later than 1 year after it is due, unless You are not legally competent.
We may request Proof of Loss throughout Your Disability. In such cases, We must receive the proof within 30 day(s) of
the request.

Claim Payment: When are benefit payments issued?
When We determine that You;

1) are Disabled; and

2) eligible to receive benefits;
We will pay accrued benefits at the end of each month that You are Disabled. We may, at Our option, make an advance
benefit payment based on Our estimated duration of Your Disability. If any payment is due after a claim is terminated, it
will be paid as soon as Proof of Loss satisfactory to Us is received.

Claims to be, Paid: To whom will benefits for my claim be paid?
All payments are payable to You. Any payments owed at Your death may be paid to Your estate. If any payment is owed
to:

1) Your estate;

2) a person who is a minor; or

3) aperson who is not legally competent;
then We may pay up to $3,000 to a person who is Related to You and who, at Our sole discretion, is entitled to it. Any
such payment shail fulfill Our responsibility for the amount paid.

Claim Denial: What notification will | receive if my claim is denied?
If a claim for benefits is wholly or partly denied, You will be furnished with written notification of the decision. This written
notification will:

1) give the specific reason(s) for the denial.

2) make specific reference to The Policy provisions on which the denial is based;

3) provide a description of any additional information necessary to perfect a claim and an explanation of why it is

necessary; and
4) provide an explanation of the review procedure.

Claim Appeal: What recourse do | have if my claim is denied?
On any claim, You or Your representative may appeal to Us for a full and fair review. To do so You:
1) must request a review upon written application within:
a) 180 days of receipt of claim denial if the claim requires Us to make a determination of disability; or
b) 6&0 days of receipt of claim denial if the claim does not require Us to make a determination of disability; and
2) may request copies of all documents, records, and other information relevant to Your claim; and
3) may submit written comments, documents, records and other information relating to Your claim.

We will respond to You in writing with Our final decision on the claim.

Social Security: When must | apply for Social Security Benefits?
You must apply for Social Security disability benefits when the length of Your Disability meets the minimum duration
required to apply for such benefits. You must apply within 45 days from the date of Our request. If the Social Security
Administration denies Your eligibility for benefits, You will be required:

1) to follow the process established by the Social Security Administration to reconsider the denial; and

2) if denied again, to request a hearing before an Administrative Law Judge of the Office of Hearing and Appeals.

Benefit Estimates: How does the Company estimate Disability benefits under the United States Social Security Act?
We reserve the right to reduce Your Monthly Benefit by estimating the Social Security disability benefits You or Your
spouse and children may be eligible to receive.

When We cetermine that You or Your Dependent may be eligible for benefits, We may estimate the amount of these
benefits. We may reduce Your Monthly Benefit by the estimated amount.
Your Monthly Benefit will not be reduced by estimated Social Security disability benefits if:
1) You apply for Social Security disability benefits and pursue all required appeals in accordance with the Social
Security provision; and

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2) You have signed a form authorizing the Social Security Administration to release information about awards
directly to Us; and

3) You have signed and returned Our reimbursement agreement, which confirms that You agree to repay all
overpaymenis.

If We have reduced Your Monthly Benefit by an estimated amount and:
1) You or Your Dependent are later awarded Social Security disability benefits, We will adjust Your Monthly Benefit
when We receive proof of the amount awarded, and determine if it was higher or lower than Our estimate: or
2) Your application for disability benefits has been denied, We will adjust Your Monthly Benefit when You provide Us
proof of final denial from which You cannot appeal from an Administrative Law Judge of the Office of Hearing and
Appeals.

If Your Social Security Benefits were lower than we estimated, and We owe You a refund, We will make such refund in a
lump sum. If Your Social Security Benefits were higher than we estimated, and If Your Monthly Benefit has been
overpaid, You must make a lump sum refund to Us equal to all overpayments, in accordance with the Overpayment
Recovery provision

Overpayment: When does an overpayment occur?
An overpayment occurs:
1) when We determine that the total amount We have paid in benefits is more than the amount that was due to You
under The Policy; or
2) when payment is made by Us that should have been made under another group policy.

This includes, but is not limited to, overpayments resulting from:
1) retroactive awards received from sources listed in the Other Income Benefits definition;
2) failure to report, or late notification to Us of any Other Income Benefit(s) or earned income;
3) misstatement:
4) fraud; or
5) any error We may make.

Overpayment Recovery: How does fhe Company exercise the right to recover overpayments?
We have the right to recover from You any amount that We determine to be an overpayment. You have the obligation to
refund to Us any such amount. Our rights and Your obligations in this regard may also be set forth in the reimbursement
agreement You will be required to sign when You become eligible for benefits under The Policy.

If benefits are overpaid on any claim, You must reimburse Us within 30 days.

If reimbursement is not made in a timely manner, We have the right to:
1) recover such overpayments from:
a) You;
b) any other organization;
c) any other insurance company;
d) any other person to or for whom payment was made; and
e) Your estate;
2) reduce or offset against any future benefits payable to You or Your survivors, including the Minimum Monthly
Benefit, until full reimbursement is made. Payments may continue when the overpayment has been recovered;
3) refer Your unpaid balance to a collection agency; and
4) pursue and enforce all legal and equitable rights in court.

Subrogation: What are the Company’s subrogation rights?
If You:

1) suffer a Disability because of the act or omission of a Third Party;

2) become entitled to and are paid benefits under The Policy in compensation for lost wages; and

3) do not initiate legal action for the recovery of such benefits from the Third Party in a reasonable period of time;
then We will be subrogated to any rights You may have against the Third Party and may, at Our option, bring legal action
against the Third Party to recover any payments made by Us in connection with the Disability.

Reimbursement: What are the Company's Reimbursement Rights?
We have the right to request to be reimbursed for any benefit payments made or required to be made under The Policy for
a Disability for which You recover payment from a Third Party.

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If You recover payment from a Third Party as:
1) a legal judgment;
2) an arbitration award; or
3) asettlement or otherwise;
You must reimburse Us for the lesser of:
1) the amount of payment made or required to be made by Us; or
2) the amount recovered from the Third Party less any reasonable legal fees associated with the recovery.

Third Party means any person or legal entity whose act or omission, in full or in part, causes You to suffer a Disability for
which benefits are paid or payable under The Policy.

Legal Actions: When can legal action be taken against Us?
Legal action cannot be taken against Us:
1) sooner than 60 days after the date Proof of Loss is given; or
2) after the expiration of the applicable statute of limitations, from the time written Proof of Loss is required to be
given according to the terms of The Policy.

Insurance Fraud: How does the Company deal with fraud?

Insurance Fraud occurs when You and/or Your Employer provide Us with false information or file a claim for benefits that
contains any false, incomplete or misleading information with the intent to injure, defraud or deceive Us. It is a crime if
You and/or Your Employer commit Insurance Fraud. We will use all means available to Us to detect, investigate, deter
and prosecute those who commit Insurance Fraud. We will pursue ali available legal remedies if You and/or Your
Employer perpetrate Insurance Fraud.

Misstatements: What happens if facts are misstated?
If material facts about You were not stated accurately:
1) Your premium may be adjusted; and
2) the true facts will be used to determine if, and for what amount, coverage should have been in force.

No statement, except fraudulent misstatements, made by You relating to Your insurability will be used to contest the
insurance for which the statement was made after the insurance has been in force for two years during Your lifetime. In
order to be used, the statement must be in writing and signed by You.

Policy Interpretation: Who interprets the terms and conditions of The Policy?

We have full discretion and authority to determine eligibility for benefits and to construe and interpret all terms and
provisions of The Policy. This provision applies where the interpretation of The Policy is governed by the Employee
Retirement Income Security Act of 1974, as amended (ERISA).

DEFINITIONS

Actively at Work means at work with the Employer on a day that is one of the Employer's scheduled workdays. On that
day, You must be performing for wage or profit all of the regular duties of Your Occupation:

1) in the usual way; and

2) for Your usual number of hours.

We will consider You Actively at Work on a day that is not a scheduled work day only if You were Actively at Work on the
preceding scheduled work day.

Active Employee means an employee who works for the Employer on a regular basis in the usual course of the
Employer's business. This must be at least the number of hours shown in the Schedule of Insurance.

Any Occupation means any occupation for which You are qualified by education, training or experience, and that has an
earnings potential greater than the lesser of:

1) the product of Your Indexed Pre-disability Earnings and the Benefit Percentage; or

2) the Maximum Monthly Benefit.

Current Monthly Earnings means monthly earnings You receive from:
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1) Your Employer; and
2) other employment;
while You are Disabled.

However, if the other employment is a job You held in addition to Your job with Your Employer, then during any period that
You are entitled to benefits for being Disabled from Your Occupation, only the portion of Your earnings that exceeds Your
average earnings from the other employer over the 6 month(s) period just before You became Disabled will count as
Current Monthly Earnings.

Current Monthly Earnings also includes the pay You could have received for another job or a modified job if:
1) such job was offered to You by Your Employer, and You refused the offer; and
2) the requirements of the position were consistent with:
a) Your education, training and experience; and
b) Your capabilities as medically substantiated by Your Physician.

Disability or Disabled means You are prevented from performing one or more of the Essential Duties of:
1) Your Occupation during the Elimination Period;
2) Your Occupation, for the 24 month(s) following the Elimination Period, and as a result Your Current Monthly
Earnings are less than 80% of Your Indexed Pre-cisability Earnings; and
3) after that, Any Occupation.

If at the end of the Elimination Period, You are prevented from performing one or more of the Essential Duties of Your
Occupation, but Your Current Monthly Eamings are greater than 80% of Your Pre-disability Earnings, Your Elimination
Period will be extended for a total period of 12 months from the original date of Disability, or until such time as Your
Current Monthly Earnings are less than 80% of Your Pre-disability Earnings, whichever occurs first.

For the purposes of extending Your Elimination Period, Your Current Monthly Earnings will not include the pay You could
have received for another job or a modified job if such job was offered to You by Your Employer, or another employer, and
You refused the offer.

Your Disability must result from:
1) accidental bodily injury;
2) sickness;
3) Mental Illness;
4) Substance Abuse; or
5) pregnancy.

Your failure to pass a physical examination required to maintain a license to perform the duties of Your Occupation, alone,
does not mean that You are Disabled.

Elimination Period means the longer of the number of consecutive days at the beginning of any one period of Disability
which must elapse before benefits are payable or the expiration of any Employer sponsored short term Disability benefits
or salary continuation program, excluding benefits required by state law.

Employer means the Policyholder.

Essential Duty means a duty that:
1) is substantial, not incidental;
2) is fundamental or inherent to the occupation; and
3) cannot be reasonably omitted or changed.
Your ability to work the number of hours in Your regularly scheduled work week is an Essential Duty.

indexed Pre-disability Earnings means Your Pre-disability Earnings adjusted annually by adding the lesser of:
1) 10%; or
2) the percentage change in the Consumer Price Index (CPI-W).

The percentage change in the CPI-W means the difference between the current year's CPI-W as of July 31, and the prior

year's CPI-W as of July 31, divided by the prior year's CPI-W. The adjustment is made January 1st each year after You
have been Disabled for 12 consecutive month(s), provided You are receiving benefits at the time the adjustment is made.

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The term Consumer Price Index (CPI-W) means the index for Urban Wage Eamers and Clerical Workers published by the
United States Department of Labor. It measures on a periodic (usually monthly) basis the change in the cost of typical
urban wage earners’ and clerical workers’ purchase of certain goods and services. If the index is discontinued or
changed, We may use another nationally published index that is comparable to the CPI-W.

Mental Illness means a mental disorder as listed in the current version of the Diagnostic and Statistical Manual of Mental
Disorders, published by the American Psychiatric Association. A Mental liIness may be caused by biological factors or
result in physical symptoms or manifestations.

For the purpose of The Policy, Mental Illness does not include the following mental disorders outlined in the Diagnostic
and Statistical Manual of Mental Disorders:

1) Mental Retardation;

2) Pervasive Developmental Disorders;

3) Motor Skills Disorder;

4) Substance-Related Disorders;

5) Delirium, Dementia, and Amnesic and Other Cognitive Disorders; or

6) Narcolepsy and Sleep Disorders related to a General Medical Condition.

Monthly Benefit means a monthly sum payable to You while You are Disabled, subject to the terms of The Policy.
Monthly Income Loss means Your Pre-disability Eamings minus Your Current Monthly Earnings.

Other Income Benefits means the amount of any benefit for loss of income, provided to You or Your family, as a result of
the period of Disability for which You are claiming benefits under The Policy. This includes any such benefits for which
You or Your family are eligible or that are paid to You, or Your family or to a third party on Your behalf, pursuant to any:

1) governmental law or program that provides disability or unemployment benefits as a result of Your job with Your
Employer;

2) plan or arrangement of coverage, whether insured or not, which is received from Your Employer as a result of
employment by or association with Your Employer or which is the result of membership in or association with any
group, association, union or other organization;

3) individual insurance policy where the premium is wholly or partially paid by Your Employer;

4) mandatory "no fault" automobile insurance plan;

5) disability benefits under:

a) the United States Social Security Act or alternative plan offered by a state or municipal government;

b) the Railroad Retirement Act;

c) the Canada Pension Plan, the Canada Old Age Security Act, the Quebec Pension Plan or any provincial
pension or disability plan; or

d) similar plan or act;

that You, Your spouse and/or children, are eligible to receive because of Your Disability; or

6) disability benefit from the Department of Veterans Affairs, or any other foreign or domestic governmental agency:
a) that begins after You become Disabled; or
b) that You were receiving before becoming Disabled, but only as to the amount of any increase in the benefit

attributed to Your Disability.

Other Income Benefits also means any payments that are made to You or to Your family, or to a third party on Your
behalf, pursuant to any:
1) disability benefit under Your Employer's Retirement plan;
2) temporary, permanent disability or impairment benefits under a Workers’ Compensation Law, the Jones Act,
occupational disease law, similar law or substitutes or exchanges for such benefits;
3) portion of a settlement or judgment, minus associated costs, of a lawsuit that represents or compensates for Your
loss of earnings;
4) retirement benefit from a Retirement Pian that is wholly or partially funded by employer contributions, unless:
a) You were receiving it prior to becoming Disabled; or
b) You immediately transfer the payment to another plan qualified by the United States Internal Revenue Service
for the funding of a future retirement;
(Other Income Benefits will not include the portion, if any, of such retirement benefit that was funded by Your
after-tax contributions.); or
5) retirement benefits under:
a) the United States Social Security Act or alternative plan offered by a state or municipal government;
b) the Railroad Retirement Act;

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c) the Canada Pension Plan, the Canada Old Age Security Act, the Quebec Pension Plan or any provincial
pension or disability plan;

d) similar plan or act;

that You, Your spouse and/or children receive because of Your retirement, unless You were receiving them prior

to becoming Disabled.

If You are paid Other Income Benefits in a lump sum or settlement, You must provide proof satisfactory to Us of:
1) the amount attributed to loss of income; and
2) the period of time covered by the lump sum or settlement.

We will pro rate the lump sum or settlement over this period of time. If You cannot or do not provide this information, We
will assume the entire sum to be for loss of income, and the time period to be 24 month(s). We may make a retroactive
allocation of any retroactive Other Income Benefit. A retroactive allocation may result in an overpayment of Your claim.

The amount of any increase in Other Income Benefits will not be included as Other Income Benefits if such increase:
1) takes effect after the date benefits become payable under The Policy; and
2) is a general increase which applies to all persons who are entitled to such benefits.

Physician means a person who is:
1) adoctor of medicine, osteopathy, psychology or other legally qualified practitioner of a healing art that We
recognize or are required by law to recognize;
2) licensed to practice in the jurisdiction where care is being given;
3) practicing within the scope of that license; and
4) not Related to You by blood or marriage.

Pre-disability Earnings means Your regular monthly rate of pay, not counting bonuses, commissions and tips and
tokens, overtime pay or any other fringe benefits or extra compensation in effect on the last day You were Actively at
Work before You became Disabled.

Prior Policy means the long term disability insurance carried by the Employer on the day before the Policy Effective Date.

Regular Care of a Physician means that You are being treated by a Physician:
1) whose medical training and clinical experience are suitable to treat Your disabling condition; and
2) whose treatment is:
a) consistent with the diagnosis of the disabling condition;
b) according to guidelines established by medical, research, and rehabilitative organizations; and
c) administered as often as needed;
to achieve the maximum medical improvement.

Rehabilitation means a process of Our working together with You in order for Us to plan, adapt, and put into use options
and services to meet Your return to work needs. A Rehabilitation program may include, when We consider it to be
appropriate, any necessary and feasible:
1) vocational testing;
2) vocational training;
3) alternative treatment plans such as:
a) support groups;
b) physical therapy;
c) occupational therapy; or
d) speech therapy;
4) work-place modification to the extent not otherwise provided;
5) job placement;
6) transitional work; and
7) similar services.

Related means Your spouse or other adult living with You, sibling, parent, step-parent, grandparent, aunt, uncle, niece,
nephew, son, daughter, or grandchild or similar relationship in law.

Retirement Plan means a defined benefit or defined contribution plan that provides benefits for Your retirement and
which is not funded wholly by Your contributions. It does not include:
1) a profit sharing plan;

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2) thrift, savings or stock ownership plans;

3) anon-qualified deferred compensation plan; or

4) an individual retirement account (IRA), a tax sheltered annuity (TSA), Keogh Plan, 401(k) plan, 403(b) plan or 457
deferred compensation arrangement.

Substance Abuse means the pattern of pathological use of alcohol or other psychoactive drugs and substances
characterized by:

1) impairments in social and/or occupational functioning;

2) debilitating physical condition;

3) inability to abstain from or reduce consumption of the substance; or

4) the need for daily substance use to maintain adequate functioning.
Substance includes alcohol and drugs but excludes tobacco and caffeine.

The Policy means the Policy which We issued to the Policyholder under the Policy Number shown on the face page.
We, Our, or Us means the insurance company named on the face page of The Policy.

Your Occupation means Your Occupation as it is recognized in the general workplace. Your Occupation does not mean
the specific job You are performing for a specific employer or at a specific location.

You or Your means the person to whom this certificate is issued.

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AMENDATORY RIDER Harr FORD

This rider is attached to all certificates given in connection with The Policy and is effective on The Policy Effective Date.

This rider is intended to amend Your certificate, as indicated below, to comply with the laws of Your state of residence.
Only those references to benefits, provisions or terms actually included in Your certificate will affect Your coverage.

For Arkansas residents:
The provision titled Policy Interpretation is deleted in its entirety.

For Colorado residents:
The Complications of Pregnancy definition is replaced by the following:

Complications of Pregnancy means a condition whose diagnosis is distinct from pregnancy but adversely
affected or caused by pregnancy, such as:

1) acute nephritis or nephrosis;

2) cardiac decompensation;

3) missed abortion; and

4) similar medical and surgical conditions of comparable severity.

Complications of Pregnancy will also include:

pre-eclampsia;

placenta previa;

physician prescribed bed rest for intra-uterine growth retardation, funneling, incompetent cervix;
termination of ectopic pregnancy;

spontaneous termination of pregnancy, occurring during a period of gestation in which a viable birth is not
possible;

non-elective cesarean section; and

similar medical and surgical conditions of comparable severity.

However, the term Complications of Pregnancy will not include:

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elective cesarean section;

false labor, occasional spotting, or morning sickness;

hyperemesis gravidarum; or

similar conditions associated with the management of a difficult pregnancy not consisting of a
nosologically distinct Complications of Pregnancy.

For Delaware residents:
1) The definition of Spouse is amended to include the following:
Spouse will include Your party to a civil union, provided You:

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have established that You and Your partner are parties to a civil union for purposes of The Policy; or

2) have registered as parties to a civil union with a government agency or office where such registration is

available and provide proof of such registration unless requiring proof is prohibited by law.

You will continue to be considered parties to a civil union provided You continue to meet the requirements
required by law.

The definition of Surviving Spouse in the Survivor Income Benefit is amended to read as follows:

Surviving Spouse means Your spouse who was not legally separated or divorced from You when You died.
“Spouse” will include Your domestic partner, provided You have executed a Domestic Partner Affidavit acceptable
to us, establishing that You and Your partner are domestic partners for purposes of this Policy. You will continue
to be considered domestic partners provided You continue to meet the requirements described in the Domestic
Partner Affidavit.

The Change in Family Status provision is replaced with the following:
Change in Family Status: What constitutes a Change in Family Status?
A Change in Family Status means:

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1) You get married or enter into a civil union;

2) You and Your spouse divorce or You terminate a civil union:

3) Your child is born or You adopt or become the legal guardian of a child;

4) Your spouse or civil union partner dies;

5) Your child is emancipated or dies;

6) Your spouse or civil union partner is no longer employed, which results in a loss of group insurance; or
7) You have a change in classification from part-time to full-time or fram full-time to part-time.

For Hawaii residents:
1) The definition of Spouse is amended to include the following:

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Spouse will include Your party to a civil union, provided You:
1) have established that You and Your partner are parties to a civil union for purposes of The Policy; or
2) have registered as parties to a civil union with a government agency or office where such registration is
available and provide proof of such registration unless requiring proof is prohibited by law.
You will continue to be considered parties to a civil union provided You continue to meet the requirements
required by law.

The definition of Surviving Spouse in the Survivor Income Benefit provision is replaced with the following:
Surviving Spouse means Your wife or husband who was not legally separated or divorced from You when You
died. Spouse will include Your party to a civil union, provided You:

1) have established that You and Your partner are parties to a civil union for purposes of The Policy; or

2) have registered as parties to a civil union with a government agency or office where such registration is

available and provide proof of such registration unless requiring proof is prohibited by law.

You will continue to be considered parties to a civil union provided You continue to meet the requirements
required by law.

The Change in Family Status provision is replaced with the following:
Change in Family Status: What constitutes a Change in Family Status?
A Change in Family Status means:
1) You get married or enter into a civil union;
2) You and Your spouse divorce or You terminate a civil union;
3) Your child is born or You adopt or become the legal guardian of a child;
4) Your spouse or civil union partner dies;
5) Your child is emancipated or dies;
6) Your spouse or civil union partner is no longer employed, which results in a loss of group insurance; or
7) You have a change in classification from part-time to full-time or from full-time to part-time.

For illinois residents:

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The definition of Spouse is amended to include the following:
Spouse will include Your party to a civil union, provided You:
1) have established that You and Your partner are parties to a civil union for purposes of The Policy; or
2) have registered as parties to a civil union with a government agency or office where such registration is
available and provide proof of such registration unless requiring proof is prohibited by law.
You will continue to be considered parties to a civil union provided You continue to meet the requirements
required by law.

The definition of Surviving Spouse in the Survivor Income Benefit provision is replaced with the following:
Surviving Spouse means Your wife or husband who was not legally separated or divorced from You when You
died. Spouse will include Your party to a civil union, provided You:

1) have established that You and Your partner are parties to a civil union for purposes of The Policy; or

2) have registered as parties to a civil union with a government agency or office where such registration is

available and provide proof of such registration unless requiring proof is prohibited by law.

You will continue to be considered parties to a civil union provided You continue to meet the requirements
required by law.

The Change in Family Status provision is replaced with the following:
Change in Family Status: What constitutes a Change in Family Status?
A Change in Family Status means:

1) You get married or enter into a civil union;

2) You and Your spouse divorce or You terminate a civil union;

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3) Your child is born or You adopt or become the legal guardian of a child;

4) Your spouse or civil union partner dies;

5) Your child is emancipated or dies;

6) Your spouse or civil union partner is no longer employed, which results in a loss of group insurance; or
7) You have a change in classification from part-time to full-time or from full-time to part-time.

For Indiana residents:
The last sentence in the Policy Interpretation provision is deleted and replaced by the following:
This provision applies only where the interpretation of The Policy is governed by the Employee Retirement
Income Security Act of 1974, as amended (ERISA), 29 U.S.C. 1001 et seq.

For Louisiana residents, the following provision is added:
Reinstatement after Military Service: Can my coverage be reinstated after retumn from active military service?
lf:
1) Your coverage terminates because You enter active military service; and
2) You are rehired within 12 months of the date You return from active military service;
then coverage may be reinstated, provided You request such reinstatement within 31 days of the date you return to
work.

The reinstated coverage will:
1) be the same coverage amounts in force cn the date coverage terminated; and
2) not be subject to any Waiting Period for Coverage, Evidence of Insurability or Pre-existing Conditions
Limitations; and
3) be subject to all the terms and provisions of The Policy.

For Maine residents, the following provision is added:
Reinstatement: Can my coverage be reinstated after it ends?
We will reinstate The Policy upon receipt of all current and late premiums if:
1) You, any person authorized to act on Your behalf, or any of Your dependents may request reinstatement of
The Policy within 90 days following cancellation of The Policy for nonpayment of premium provided You
suffered from cognitive impairment or functional incapacity at the time the contract cancelled; and
2) all-current and late premium payments are received within 15 days of Our request.

We may request a medical demonstration, at Your expense, that You suffered from cognitive impairment or functional
incapacity at the time of cancellation of The Policy.

For Maryland residents, the definition of Surviving Spouse in the Survivor Income Benefit is deleted and replaced by
the following:
Surviving Spouse means Your spouse who was not legally separated or divorced from You when You died.
“Spouse” will include Your domestic partner, provided You have executed a Domestic Partner Affidavit acceptable
to us, establishing that You and Your partner are domestic partners for purposes of this Policy. You will continue
to be considered domestic partners provided You continue to meet the requirements described in the Domestic
Partner Affidavit.

For Massachusetts residents:
1) the following is added to the Continuation Provisions:
In accordance with Massachusetts state law, if Your insurance terminates because Your employment terminates
or You cease to be a member of an eligible class, Your insurance will automatically be continued until the end of a
31 day period from the date Your insurance terminates or the date You become eligible for similar benefits under
another group plan, whichever occurs first.

Additionally, if Your insurance terminates because Your employment is terminated as a result of a plant closing or
covered partial closing, Your insurance may be continued. You must elect in writing to continue insurance and
pay the required premium for continued coverage. Coverage will cease on the earliest to occur of the following
dates: '

1) 90 days from the date You were no longer eligible for coverage as a Full-time Active Employee;

2) the date You become eligible for similar benefits under another group plan;

3) the last day of the period for which required premium is made;

4) the date the group insurance policy terminates; or

5) the date Your Employer ceases to be a Participant Employer, if applicable.

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Continued coverage is subject to all other applicable terms and conditions of The Policy.

The Surviving Children definition in the Survivor Income Benefit will also include a child in the process of
adoption.

For Michigan residents, the Policy Interpretation provision is deleted in its entirety.

For Minnesota residents:

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the definition of Any Occupation is amended by the addition of the phrase “or may reasonably become qualified”
to the first line;
The first two paragraphs of the Pre-Existing Conditions Limitation provision are deleted and replaced by the
following:
No benefit will be payable under The Policy for any Disability that is due to, contributed to by, or results from a
Pre-Existing Condition, unless such Disability or loss is incurred:
1) After the lesser of the last day of:
a) the number of days stated in Your certificate; or
b) 730 consecutive days;
while insured, during which you receive no medical care for the Pre-Existing Condition; or
2) After the lesser of the last day of:
a) the number of days stated in Your certificate; or
b) 730 consecutive days;
during which you have been continuously insured under The Policy.
The amount of a benefit increase, which results from a change in benefit options, a change of class or a change
in The: Policy, will not be paid for any disability that is due to, contributed to by, or results from a Pre-Existing
Condition, unless such Disability begins:
1) After the lesser of the last day of :
a) the number of days stated in Your certificate; or
b) 730 consecutive days;
while insured for the increased benefit amount during which you receive no medical care for the Pre-
Existing Condition; or
2) After the lesser of the last day of :
a) the number of days stated in Your certificate; or
b) 730 consecutive days;
during which you have been continuously insured for the increased benefit amount.
The definition of Pre-existing Condition in the Pre-Existing Conditions Limitation provision is deleted and is
replaced by the following:
Pre-existing Condition means any accidental bodily injury, sickness, Mental Illness, pregnancy, or episode of
Substance Abuse for which You received Medical Care during the lesser of:
1) the period of time stated in Your certificate; or
2) the 730 day period;
that ends the day before:
3) Your effective date of coverage; or
4) the effective date of a Change in Coverage.
The definition of Surviving Spouse in the Survivor Income Benefit is amended to read as follows:
Surviving Spouse means Your spouse who was not legally separated or divorced from You when You died.
“Spouse” will include Your domestic partner, provided You have executed a Domestic Partner Affidavit acceptable
to us, establishing that You and Your partner are domestic partners for purposes of this Policy. You will continue
to be considered domestic partners provided You continue to meet the requirements described in the Domestic
Partner Affidavit.

For Missouri residents intentionally self-inflicted Injury, suicide or attempted suicide, while sane.

For Montana residents, pregnancy will be covered, the same as any other Sickness, anything in the Policy to the contrary
notwithstanding.

For New Hampshire residents:

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The definition of Other Income Benefits is amended by the deletion of ‘mandatory “no-fauit' automobile
insurance plan’;

LTD The time period, stated in the Recurrent Disability provision, within which a Disability must recur in order to
be considered the same Period of Disability is changed to 6 months, if less than 6 months.

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3) The Policy Interpretation provision is deleted and replaced by the following:
Under ERISA, the Company is hereby designated by the plan sponsor as a claim fiduciary with discretionary
authority to determine eligibility for benefits and to interpret and construe the terms and provisions of the
policy. As claim fiduciary, the Company has a duty to administer claims solely in the interest of the
participants and beneficiaries of the employee benefit plan and in accordance with the documents and
instruments governing the plan. This assignment of discretionary authority does not prohibit a participant or
beneficiary from seeking judicial review of the Company's benefit eligibility determination after exhausting
administrative remedies. The assignment of discretionary authority made under this provision may affect the
standard of review that a court will use in reviewing the appropriateness of the Company's determination. In
order to prevail, a plan participant or beneficiary may be required to prove that the Company's determination
was arbitrary and capricious or an abuse of discretion.

4) The time periods stated in the Claim Appeal provision are changed to 180 days, if less than 180 days.

For New Jersey residents:
1) The Change in Family Status provision is replaced with the following:
Change in Family Status: What constitutes a Change in Family Status?
A Change in Family Status means:
1) You get married or enter into a civil union;
2) You and Your spouse divorce or You terminate a civil union;
_ 3) Your child is born or You adopt or become the legal guardian of a child;
4) Your spouse or civil union partner dies;
: §) Your child is emancipated or dies;
6) Your spouse or civil union partner is no longer employed, which results in a loss of group insurance;
or
! 7) You have a change in classification from part-time to full-time or from full-time to part-time.

2) The definition of Surviving Spouse in the Survivor Income Benefit provision is replaced with the following:
Surviving Spouse means Your spouse who was not legally separated or divorced from You when You died.

Spouse will include Your party to a civil union, provided You have registered as parties to a civil union with a
government agency or office where such registration is available. You will continue to be considered parties
to a civil union provided You continue to meet the requirements required by law.

3) The second paragraph of the Surviving Children definition in the Survivor Income Benefit provision is
replaced with the following:
The term Surviving Children will also include any other children related to You by blood or marriage or civil
union and who:
1) lived with You in a regular parent-child relationship; and
2) were eligible to be claimed as dependents on Your federal income tax retum for the last tax year prior
to Your death.

For North Carolina residents:

1) The definition of Other Income Benefits is amended by the deletion of ‘mandatory "no-fault" automobile
insurance plan’;

2) The last sentence of the first paragraph of the Disability Benefit is amended by the addition of the following
clause: "unless qualified medical professionals have determined that further medical care and treatment would be
of no benefit to you."

3) The exclusion regarding Workers' Compensation benefits is replaced by the following in the Exclusions
provision:

for which the final adjudication or a Workers' Compensation claim determines that benefits are paid, or may
be paid, if duly claimed;

4) The Subrogation provision is deleted.

For Oregon n residents:
1) The Spouse definition is amended to include the following:
Spouse will include Your domestic partner provided You:
1) have executed a domestic partner affidavit satisfactory to Us, establishing that You and Your partner
are domestic partners for purposes of The Policy; or
2) have registered as domestic partners with a government agency or office where such registration is
available.

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You will continue to be considered domestic partners provided You continue to meet the requirements of the
law or as described in the domestic partner affidavit.

2) The definition of Surviving Spouse in the Survivor Income Benefit section is replaced with the following:
Survivor Income Benefit: Will my survivors receive a benefit if | die while receiving Disability Benefits?
Surviving Spouse means Your wife or husband who was not legally separated or divorced from You when
You died.

Spouse will include Your domestic partner provided You:
1) have executed a domestic partner affidavit satisfactory to Us, establishing that You and Your partner
are domestic partners for purposes of The Policy; or
2) have registered as domestic partners with a government agency or office where such registration is
available.
You will continue to be considered domestic partners provided You continue to meet the requirements of the
law or as described in the domestic partner affidavit.

3) The Change in Family Status provision is replaced by the following:
Change in Family Status: What constitutes a Change in Family Status?
A Change in Family Status means:
1) You get married or register as domestic partners or You execute a domestic partner affidavit;
2) You and Your spouse divorce or You terminate a domestic partnership;
3) Your child is born or You adopt or become the legal guardian of a child:
4) Your spouse or domestic partner dies;
6) Your child is emancipated or dies;
. 6) Your spouse or domestic partner is no longer employed, which results in a loss of group insurance; or
' 7) You have a change in classification from part-time to full-time or from full-time to part-time.

4) The Continuation Provisions section is amended to include the following for Employers with 10 or more
“employees:
Jury Duty: If You are scheduled to serve or are required to serve as a juror, Your coverage may be continued
until the last day of Your Jury Duty, provided You:
1) elected to have Your coverage continued; and
2) provided notice of the election to Your employer in accordance with Your employer's notification
policy.

For Puerto Rico residents, the Policy Interpretation provision is deleted in its entirety.

For Rhode Island residents:
1) The definition of Spouse is amended to include the following:

Spouse will include Your party to a civil union, provided You:
1) have established that You and Your partner are parties to a civil union for purposes of The Policy; or
2) have registered as parties to a civil union with a government agency or office where such registration is

‘ available and provide proof of such registration unless requiring proof is prohibited by law.
You will continue to be considered parties to a civil union provided You continue to meet the requirements
required by law.

2) The definition of Surviving Spouse in the Survivor Income Benefit is amended to read as follows:
Surviving Spouse means Your spouse who was not legally separated or divorced from You when You died.
“Spouse” will include Your domestic partner, provided You have executed a Domestic Partner Affidavit acceptable
to us, establishing that You and Your partner are domestic partners for purposes of this Policy. You will continue
to be considered domestic partners provided You continue to meet the requirements described in the Domestic
Partner Affidavit.

3) The Change in Family Status provision is replaced with the following:
Change in Family Status: What constitutes a Change in Family Status?
A Change in Family Status means:
1) You get married or enter into a civil union;
2) You and Your spouse divorce or You terminate a civil union;
3) ‘Your child is born or You adopt or become the legal guardian of a child;
4) Your spouse or civil union partner dies;
5) Your child is emancipated or dies;

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